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                                                                     United States Court of Appeals
                                      PUBLISH                                Tenth Circuit

                       UNITED STATES COURT OF APPEALS                      March 27, 2024

                                                                        Christopher M. Wolpert
                              FOR THE TENTH CIRCUIT                         Clerk of Court
                          _________________________________

  WHYTE MONKEE PRODUCTIONS,
  LLC; TIMOTHY SEPI,

        Plaintiffs - Appellants,

  v.                                                         No. 22-6086

  NETFLIX, INC.; ROYAL GOODE
  PRODUCTIONS, LLC,

        Defendants - Appellees.
                       _________________________________

                      Appeal from the United States District Court
                         for the Western District of Oklahoma
                              (D.C. No. 5:20-CV-00933-D)
                        _________________________________

 Gregory Keenan, Digital Justice Foundation, Floral Park, New York (Andrew Grimm of
 Digital Justice Foundation, Omaha, Nebraska, with him on the briefs), for Plaintiffs-
 Appellants.

 Robert H. Rotstein, Mitchell, Silberberg & Knupp LLP, Los Angeles, California (Emily
 F. Evitt of Mitchell, Silberberg & Knupp, LLP, Los Angeles, California; and Mack J.
 Morgan, III, of MJMLAW PLLC, Nichols Hills, Oklahoma, with him on the brief), for
 Defendants-Appellees.
                           _________________________________

 Before HOLMES, Chief Judge, HARTZ, and CARSON, Circuit Judges.
                    _________________________________

 HOLMES, Chief Judge.
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       Plaintiffs-Appellants, Whyte Monkee Productions, LLC and Timothy Sepi,

 appeal from the District Court for the Western District of Oklahoma’s order granting

 summary judgment to Defendants-Appellees, Netflix, Inc. (“Netflix”) and Royal

 Goode Productions, LLC (“Royal Goode”). In March 2020, Defendant Netflix

 released Tiger King: Murder, Mayhem and Madness (“Tiger King”), a seven-part

 documentary series produced by Defendant Royal Goode. Included in the series are

 short clips from eight videos (“the Videos”) that were filmed by Mr. Sepi. Seven of

 the videos were filmed while Mr. Sepi was working for the Gerald Wayne Interactive

 Zoological Park (“the Park”). The eighth video—Travis MM Funeral Ceremony

 (“Funeral Video”)—was shot after Mr. Sepi terminated his employment relationship

 with the Park. Following the release of Tiger King, Mr. Sepi registered the eight

 videos for copyright protection, either under his own name or the name of Whyte

 Monkee Productions. Plaintiffs (i.e., Mr. Sepi and Whyte Monkee Productions) then

 sued Netflix and Royal Goode for copyright infringement, contending that Plaintiffs

 owned the copyrights in the Videos and that Defendants had used clips of those

 videos without permission.

       On April 27, 2022, the district court granted summary judgment to Defendants.

 First, the district court held that seven of the videos were works made for hire under

 § 201(b) of the Copyright Act, and thus Mr. Sepi did not own the copyrights in the

 works. Second, the district court found that Defendants’ use of the eighth video was

 fair use that did not infringe upon Mr. Sepi’s copyright.



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        On appeal, Plaintiffs argue that the district court erred in concluding that the

 first seven videos were works made for hire, as “Mr. Sepi’s line of work was tour

 photography and videography, but the works in question are not related to tours, are

 not videography but cinematography, were not made during working hours, and were

 made at his home as well as his workplace.” Aplts.’ Opening Br. at 16. Plaintiffs

 also argue that the district court erred on fair use, as “all four statutory factors”

 weighed against such a finding. Id. In support of their position, Plaintiffs point to

 the Supreme Court’s recent decision in Andy Warhol Foundation for the Visual Arts,

 Inc. v. Goldsmith, 598 U.S. 508 (2023), which allegedly “supports reversal of the

 fair-use decision below.” Aplts.’ Am. Suppl. Br. at 11.

        With respect to the first seven videos, we conclude that Plaintiffs have asserted

 a new theory on appeal—which was not raised in the district court—and have failed

 to argue for plain error. As such, we hold that Plaintiffs have waived this argument

 for purposes of this appeal. And, consequently, we uphold the district court’s

 judgment as it pertains to the first seven videos.

        With respect to the eighth video, we conclude that the district court erred in

 determining that Defendants were entitled to summary judgment on their fair use

 defense. Specifically, we conclude—in light of the Supreme Court’s recent guidance

 in Warhol—that, contrary to the district court’s ruling, the first factor does not favor

 Defendants; instead, it militates in Plaintiffs’ favor. The second and third statutory

 factors do favor Defendants. But, as to the fourth factor, Defendants failed to

 provide any affidavits or other evidence demonstrating the absence of a market

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 impact; consequently, they failed to meet their burden as to this factor, and the

 district court erred in finding that this factor weighed in their favor.

        We therefore affirm the district court’s judgment as to the first seven videos

 and reverse the court’s judgment as to the eighth video, and remand to the court for

 further proceedings consistent with this opinion.

                                              I

                                             A

                                              1

        Joseph Maldonado-Passage, also known as Joe Exotic, founded the Gerald

 Wayne Interactive Zoological Park in Wynnewood, Oklahoma. The Park housed

 tigers, lions, and other exotic animals and was open to the public for tours. The Park

 also maintained a studio that was used to produce a web series called Joe Exotic TV.

 Joe Exotic TV was primarily an unscripted series featuring video footage from around

 the Park and skits invented by Mr. Exotic. In early 2015, Joe Exotic TV was

 produced by Rick Kirkham, who oversaw the studio operations with a team of four

 people.

        In March 2015, Mr. Sepi traveled to the Park to discuss working for Joe Exotic

 TV with Mr. Kirkham and Mr. Exotic. See Aplts.’ App., Vol. IV, at 22–23, ¶ 54

 (Pls.’ Resp. in Opp’n to Defs.’ Mot. for Summ. J., filed Feb. 28, 2022). From these

 discussions, Mr. Sepi understood that part of what he would be doing was working on

 Joe Exotic TV, that he would be paid $150 per week, and that he would be allowed to

 live on Park property for free. See id. Only a week after starting his employment,

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 however, a fire destroyed the studio and camera equipment. Mr. Kirkham quit,

 leaving Mr. Sepi as the sole videographer at the Park.

       With the studio and camera equipment destroyed, Joe Exotic TV went on

 hiatus. During this time, Mr. Sepi continued to photograph park tours and assist with

 animal care around the park. Within a couple of months, however, a new production

 studio had been built, new camera equipment had been obtained, and Joe Exotic TV

 resumed production.

       Mr. Sepi admits that during the day, while using the studio’s equipment, “he

 split time taking tour photographs, filming, and editing for Joe Exotic TV, and

 filming campaign videos for [Mr.] Exotic,[1] but denies that these were all part of his

 workday duties for the Park.” Id. at 19, ¶ 17. Instead, he alleges on appeal that he

 was solely employed to take photography and videography of park tours. See Aplts.’

 Opening Br. at 67. As such, he claims that he “was making footage” for Joe Exotic

 TV “on his own time,” because “Joe Exotic was content gold” and the footage would

 allow him to achieve success in the media. Id. at 10.

       Following the studio fire, Joe Exotic TV returned to streaming on May 7, 2015.

 Each episode was preceded by a disclaimer stating that the footage is owned by

 Whyte Monkee Productions. Whyte Monkee Productions is an Oklahoma limited



       1
              While Mr. Sepi was working with him, Mr. Exotic undertook a
 campaign for President of the United States. See Aplts.’ App., Vol. II, at 167 (Dep.
 of Timothy Sepi, dated Oct. 5, 2021) (discussing Mr. Exotic’s campaign for U.S.
 President); Aplees.’ Resp. Br. at 1 (noting that Mr. Exotic stood as a candidate for
 “U.S. President”).
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 liability company that was established on May 5, 2015. The Articles of Organization

 include Mr. Exotic’s email address, the Park’s street address, and “Tim Sepi” as the

 signatory. Although Mr. Sepi’s degree of control over Whyte Monkee Productions

 was contested below, he now concedes that “[f]or the purposes of this appeal, the

 Court should assume that Mr. Sepi was unaware of [Whyte Monkee Productions] at

 the time of formation.” Id. at 63.

                                            2

         Until his resignation in August 2016, Mr. Sepi continued to film and produce

 videos for Joe Exotic TV. During and after Mr. Sepi’s tenure at the Park, filmmakers

 associated with Defendant Royal Goode were shooting footage at the Park and

 editing what would eventually become the Tiger King series. See Aplts.’ App., Vol.

 I, at 162, ¶ 35 (Defs.’ Mot. for Summ. J., filed Jan. 27, 2022). In addition to its own

 footage, Royale Goode licensed film clips from Mr. Exotic and Jeffrey Lowe—the

 new owner, after around February 2016, of the Park—including the works that

 Mr. Sepi now claims to own. See id.

         While creating the documentary, Royal Goode emailed Mr. Sepi to obtain his

 assistance in accessing video footage that was apparently located at the Park. Royal

 Goode also offered to compensate Mr. Sepi for his efforts. Mr. Sepi responded to

 Royale Goode’s email, telling them to contact Mr. Exotic because he no longer

 worked there. He also did not assert any ownership interest in the footage at that

 time.



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         In March 2020, Netflix released Tiger King and included clips from the

 following seven videos that were filmed by Mr. Sepi while he was an employee of the

 Park:

               1.    Disrespectful Tomato Thrower Trouble

               2.    Joe – Getting Dragged by Lion

               3.    Joe – Presidential PSA

               4.    Mobile Trailer Inspections for Volunteers

               5.    Country Music Artist Joe Exotic – Bring It On

               6.    Joe Exotic Country Music “Here Kitty Kitty”

               7.    Joe Exotic TV – Tornado on the Ground

 See id. at 163, ¶ 39. These videos were all filmed by Mr. Sepi between May 2015

 and August 2016. See id. at 163–66, ¶¶ 40–46.

         The eighth video—Travis MM Funeral Ceremony—was shot after Mr. Sepi

 terminated his relationship with the Park. See id. at 166, ¶ 47. The video is

 approximately twenty-three minutes and fifty-two seconds long and documents the

 funeral of Mr. Exotic’s husband, Travis Maldonado. See id. The Funeral Video

 depicts guests arriving at the funeral, Mr. Exotic giving a eulogy, and the showing of

 a memorial video. Mr. Sepi shot the video by placing the camera on a tripod and

 leaving it running. See id. The video was livestreamed on the Joe Exotic TV

 YouTube page and remained there after the funeral. See id. A clip from the video

 appears in a segment of Tiger King lasting approximately one minute and six

 seconds. See id. at 167, ¶ 49. The clip focuses on portions of Mr. Exotic’s eulogy

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 and is interspersed with other footage, including comments from Mr. Maldonado’s

 mother that are critical of Mr. Exotic. See id.

       Following the release of Tiger King, Mr. Sepi obtained copyright registrations

 for the eight videos. See id. ¶ 50. Mr. Sepi “has never licensed, sold, or otherwise

 commercially exploited any of his work (including the Videos).” Id. ¶ 51.

                                            3

       In a separate lawsuit, Carole Baskin—a big-cat enthusiast and Mr. Exotic’s

 longstanding rival—obtained a $1 million judgment against Mr. Exotic. To collect

 this judgment, Ms. Baskin initiated garnishment proceedings against Mr. Exotic in

 Oklahoma. On September 13, 2016, approximately one month after leaving the Park,

 Mr. Sepi gave a deposition as a fact witness in connection with the garnishment

 proceedings. During the course of his 2016 deposition, Mr. Sepi testified (1) that he

 had been hired by and worked for the Park as a videographer and photographer, and

 (2) that he had no involvement in the creation of the entity known as Whyte Monkee

 Productions, LLC, nor any knowledge of that entity’s activities. See id. at 161, ¶ 32.

       However, Mr. Sepi’s testimony on these points changed significantly by the

 time he filed this lawsuit. In 2021, he gave a deposition in connection with this

 litigation where he directly contradicted his earlier testimony and admitted to

 committing perjury during his 2016 deposition. See id. at 162, ¶ 33. Specifically, at

 his 2021 deposition, Mr. Sepi testified that he came up with the idea to form Whyte

 Monkee Productions after the studio fire and gained permission from the Park to film

 videos using the entity. See Aplts.’ App., Vol. V, at 57:2–14 (Dep. of Timothy Sepi,

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 dated May 13, 2021). Mr. Sepi also testified that he was being paid $150 per week

 for his photography work at the Park, which did not include any videography. See id.

 at 99:7–10. Specifically, he testified that when he described himself as a

 “cameraman” in his 2016 deposition, he did not properly elaborate to indicate that he

 only meant photography. See id. at 44:6–19.

                                            B

       On September 14, 2020, Plaintiffs sued Netflix—and later Royal Goode—for

 copyright infringement, contending that Plaintiffs owned the copyrights in the Videos

 and that Defendants had used clips of those Videos without permission. See Aplts.’

 App., Vol. I, at 24, ¶¶ 23–24 (Compl., filed Sept. 14, 2020). On January 27, 2022,

 Defendants moved for summary judgment on the grounds that (1) Mr. Sepi had shot

 seven of the videos within the scope of his employment such that those videos were

 works made for hire; and (2) the remaining video—i.e., the eighth—is not subject to

 copyright protection because it is lacking in originality. Alternatively, Defendants

 argued that their use of the eighth video qualified as a fair use such that no copyright

 infringement had occurred.

       On April 27, 2022, the district court granted Defendants’ motion for summary

 judgment, holding that seven of the videos were works made for hire under § 201(b)

 of the Copyright Act, and thus Mr. Sepi did not own the copyrights in those videos.

 In reaching that conclusion, the district court also determined that Mr. Sepi’s 2021

 testimony should be “excluded as a transparent attempt to create a sham issue of



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  fact.” Aplts.’ App., Vol. VIII, at 264 (Order on Defs.’ Mot. Summ. J., filed Apr. 27,

  2022).

           The district court then concluded that “a reasonable juror could conclude that

  the Travis MM Funeral Ceremony video [(the eighth video)] contains elements of

  originality that are subject to copyright.” Id. at 271. Nonetheless, the district court

  concluded that Defendants’ use of the Funeral Video was fair use that did not

  infringe upon Mr. Sepi’s copyright. See id. at 277–78. The same day, the district

  court entered judgment in favor of Defendants. See id. at 279 (Dist. Ct. J., filed Apr.

  27, 2022). On May 26, 2022, Plaintiffs filed a timely notice of appeal from the

  district court’s order granting summary judgment. See id. at 280–81 (Pls.’ Notice of

  Appeal, filed May 26, 2022).

                                               II

           Plaintiffs raise two issues on appeal. First, they argue that the seven videos

  Mr. Sepi filmed while employed at the Park were not works made for hire.

  Specifically, Plaintiffs contend—for the first time on appeal—that “Mr. Sepi’s scope

  of employment as a tour videographer did not extend to cinematography and film

  editing conducted on his own time outside of tours.” Aplts.’ Opening Br. at 66.

  Second, Plaintiffs argue that the district court erred on fair use. In particular,

  Plaintiffs contend that “[u]nder the statutory fair-use factors, the [Defendants’]

  streaming use . . . is unfair and contrary to the purposes of copyright.” Id. at 23. In

  support of their position, Plaintiffs point to the Supreme Court’s recent decision in



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  Warhol, which allegedly “supports reversal of the fair-use decision below.” Aplts.’

  Am. Suppl. Br. at 11.

        With respect to the first seven videos, we conclude that Plaintiffs have asserted

  a new theory on appeal—which was not raised in the district court—and have failed

  to argue for plain error. As such, we hold that Plaintiffs have waived this theory.

  And, because this theory constitutes their sole ground for challenging the district

  court’s entry of judgment regarding the first seven videos, we uphold that judgment.

        With respect to the eighth video, however, we conclude that the district court

  erred in determining that Defendants were entitled to summary judgment on their fair

  use defense. Specifically, the district court erroneously concluded that the first

  factor, which concerns the purpose and character of the use, favors Defendants.

  Further, the district court erred in concluding that the fourth factor weighs in

  Defendants’ favor; Defendants failed to provide any affidavits or other evidence

  demonstrating the absence of a market impact. In light of our rulings on these

  matters, we reverse the district court’s entry of summary judgment as to the eighth

  video and remand for further proceedings consistent with this opinion.

                                             III

        “We review the district court’s summary judgment decision de novo, applying

  the same standards as the district court.” Punt v. Kelly Servs., 862 F.3d 1040, 1046

  (10th Cir. 2017). “Summary judgment is proper if, viewing the evidence in the light

  most favorable to the non-moving party, there is no genuine dispute as to any

  material fact and the movant is entitled to judgment as a matter of law.” Peterson v.

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  Martinez, 707 F.3d 1197, 1207 (10th Cir. 2013). However, “[t]he mere existence of

  some alleged factual dispute between the parties will not defeat an otherwise properly

  supported motion for summary judgment; the requirement is that there be no genuine

  issue of material fact.” Scott v. Harris, 550 U.S. 372, 380 (2007) (quoting Anderson

  v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986)); see also N.M. Oncology &

  Hematology Consultants, Ltd. v. Presbyterian Healthcare Servs., 994 F.3d 1166,

  1171–72 (10th Cir. 2021) (“To survive a motion for summary judgment, the

  nonmoving party must show more than ‘[t]he mere existence of a scintilla of

  evidence in support of the [nonmoving party’s] position . . . there must be evidence

  on which the jury could reasonably find for the [nonmoving party].’” (alterations and

  omission in original) (quoting Anderson, 477 U.S. at 252)).

        To determine whether a “genuine issue” as to a material fact exists, we

  consider “whether the evidence presents a sufficient disagreement to require

  submission to a jury or whether it is so one-sided that one party must prevail as a

  matter of law.” Anderson, 477 U.S. at 251–52; accord SEC v. GenAudio, Inc., 32

  F.4th 902, 920 (10th Cir. 2022). Furthermore, “[m]ere allegations unsupported by

  further evidence . . . are insufficient to survive a motion for summary judgment.”

  James v. Wadas, 724 F.3d 1312, 1319–20 (10th Cir. 2013) (omission in original)

  (quoting Baca v. Sklar, 398 F.3d 1210, 1216 (10th Cir. 2005)); accord Potts v. Davis

  Cnty., 551 F.3d 1188, 1192 (10th Cir. 2009).




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                                             IV

        Plaintiffs first argue that the district court erred in concluding that Mr. Sepi

  was acting within the scope of his employment when filming the first seven videos at

  issue in this appeal because “Mr. Sepi’s scope of employment as a tour videographer

  did not extend to cinematography [or] film editing conducted on his own time outside

  of tours.” Aplts.’ Opening Br. at 66 (emphasis added). Specifically, Plaintiffs claim

  that “Mr. Sepi was employed to take photography and videography of park tours.”

  Id. at 67. Plaintiffs assert that the seven videos at issue in this appeal include works

  far afield from that task—e.g., “the production and editing of music videos”—and

  were thus not made within the scope of Mr. Sepi’s employment. Id.

        Defendants note that Plaintiffs assert a new theory on appeal. See Aplees.’

  Resp. Br. at 2 (“On appeal, Plaintiffs have invented a new theory—that, yes,

  [Mr.] Sepi was hired as a videographer, but only to record visitors during Park tours.

  Plaintiffs failed to raise this argument below, such that it is waived.”). Our review of

  the district court proceedings confirms Defendants’ contention.

        “We have held that an appellant waives an argument if she fails to raise it in

  the district court and has failed to argue for plain error and its application on appeal.”

  Jacks v. CMH Homes, Inc., 856 F.3d 1301, 1306 (10th Cir. 2017) (quoting Campbell

  v. City of Spencer, 777 F.3d 1073, 1080 (10th Cir. 2014)). “And our forfeiture-and-

  waiver rule applies even ‘when a litigant changes to a new theory on appeal that falls

  under the same general category as an argument presented at trial.’” Id. (quoting

  Schrock v. Wyeth, Inc., 727 F.3d 1273, 1284 (10th Cir. 2013)).

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        In the proceedings below, Plaintiffs argued that Mr. Sepi’s “duties for the Park

  were separate from his duties for Whyte Monkee Productions, LLC.” Aplts.’ App.,

  Vol. IV, at 28. Specifically, Plaintiffs—citing Mr. Sepi’s 2021 deposition

  testimony—argued that Mr. Sepi “was hired solely to perform photography services

  and [that] he personally conceived of and set up Whyte Monkee Productions as a

  separate venture for his videography work.” Aplts.’ App., Vol. VIII, at 259.

  Although these arguments were in direct contravention to his 2016 deposition

  testimony, Mr. Sepi asserted that his 2021 position was the correct one.

        Unsurprisingly, Defendants argued that the 2021 deposition testimony should

  be excluded under the sham affidavit doctrine. As such, given the case’s posture, the

  vast majority of the district court’s analysis centered on the sham affidavit doctrine.

  Recall that the court concluded that Mr. Sepi’s 2021 testimony should be “excluded

  as a transparent attempt to create a sham issue of fact.” Id. at 264. With the sham

  affidavit issue resolved and the 2021 testimony excluded, the district court

  determined (1) that Mr. Sepi did not solely perform photography services and (2) that

  he did not create Whyte Monkee Productions as a separate venture for his

  videography work. Taken together, the district court concluded that Mr. Sepi’s

  works were created within the scope of his employment.

        On appeal, Plaintiffs have reversed course. They now concede, for purposes

  of this appeal, that (1) “Mr. Sepi was involved in both videography and

  photography,” and (2) “that Mr. Sepi was unaware of [Whyte Monkee Productions] at

  the time of formation.” Aplts.’ Opening Br. at 63. In other words, Plaintiffs accept

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  the district court’s determinations. However, Plaintiffs now assert, for the first time,

  that “Mr. Sepi’s scope of employment as a tour videographer did not extend to

  cinematography [or] film editing conducted on his own time outside of tours.” Id. at

  66.

         This line of argument for seeking reversal of the district court’s judgment

  regarding the seven videos is meaningfully different from the argument that Plaintiffs

  raised below.2 Stated another way, Plaintiffs’ argument on appeal was not raised

  below and is forfeited for purposes of appeal. And Plaintiffs’ failure to now argue

  for plain error waives the issue; in other words, Plaintiffs have no entitlement to be

  heard on this line of argument for reversal. See United States v. Leffler, 942 F.3d

  1192, 1196 (10th Cir. 2019) (“When an appellant fails to preserve an issue and also

  fails to make a plain-error argument on appeal, we ordinarily deem the issue waived

  (rather than merely forfeited) and decline to review the issue at all—for plain error or

  otherwise.”); United States v. Lamirand, 669 F.3d 1091, 1099 n.7 (10th Cir. 2012)

  (“[T]he failure to argue for plain error and its application on appeal . . . surely marks

  the end of the road for an argument for reversal not first presented to the district

  court . . . .” (first omission in original) (citation omitted) (quoting Richison v. Ernest



         2
                It could be said that, at a broad level, Plaintiffs’ argument below falls
  within the same general category as the argument raised on appeal (i.e., that Mr. Sepi
  was not acting within the scope of his employment when filming these videos).
  However, as noted supra, “our forfeiture-and-waiver rule applies even ‘when a
  litigant changes to a new theory on appeal that falls under the same general category
  as an argument presented at trial.’” Jacks, 856 F.3d at 1306 (emphasis added)
  (quoting Schrock, 727 F.3d at 1284).
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  Grp., Inc., 634 F.3d 1123, 1131 (10th Cir. 2011)). And, because this line of

  argument constitutes Plaintiffs’ sole basis for challenging the district court’s entry of

  judgment regarding the first seven videos, we uphold that judgment.

                                              V

         Next, Plaintiffs assert that the district court “erred with respect to each of the

  statutory fair-use factors” when determining whether Defendants’ use of the Funeral

  Video was fair use. Aplts.’ Opening Br. at 23. Specifically, Plaintiffs claim that the

  first statutory factor counsels in their favor because Defendants’ “streaming use is as

  commercial as it gets and is not transformative because the use makes no

  commentary upon the work [(i.e., the Funeral Video)] itself.” Id. at 16. Furthermore,

  Plaintiffs argue that the second and third statutory factors point in their favor, as “the

  work was not published, is not factual,” and “the heart of the work was taken.” Id.

  Finally, Plaintiffs allege that the fourth factor counsels in their favor, as “there was

  no showing below, on this affirmative defense, of a lack of market harm.” Id.

  Plaintiffs contend that this conclusion is only bolstered by the Supreme Court’s

  recent decision in Warhol, which allegedly “supports reversal of the fair-use decision

  below.” Aplts.’ Am. Suppl. Br. at 11.

         We partially agree with Plaintiffs. Specifically, we agree that the first factor

  points in Plaintiffs’ favor. But our range of agreement with Plaintiffs is narrow after

  that. We cannot agree regarding the second and third factors; they weigh in

  Defendants’ favor. It is only regarding the fourth factor that we can find additional

  room for agreement; the district court erred in determining that Defendants carried

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  their burden in showing an absence of a market impact. Accordingly, we must

  reverse and remand.

                                              A

        Under § 107 of the Copyright Act, “a copyright holder cannot prevent another

  person from making a ‘fair use’ of copyrighted material.” Google LLC v. Oracle

  Am., Inc., 593 U.S. ----, 141 S. Ct. 1183, 1196 (2021). This doctrine embodies “an

  ‘equitable rule of reason’ that ‘permits courts to avoid rigid application of the

  copyright statute when, on occasion, it would stifle the very creativity which that law

  is designed to foster.’” Id. (quoting Stewart v. Abend, 495 U.S. 207, 236 (1990)).

        The Copyright Act sets out four nonexclusive factors that courts must consider

  in determining whether the use of a protected work is a fair use:

               (1) the purpose and character of the use, including whether such use
                   is of a commercial nature or is for nonprofit educational purposes;

               (2) the nature of the copyrighted work;

               (3) the amount and substantiality of the portion used in relation to the
                   copyrighted work as a whole; and

               (4) the effect of the use upon the potential market for or value of the
                   copyrighted work.

  17 U.S.C. § 107. When evaluating fair use, all of the factors “are to be explored, and

  the results weighed together, in light of the purposes of copyright.” Campbell v.

  Acuff-Rose Music, Inc., 510 U.S. 569, 578 (1994).

        “Fair use is a mixed question of law and fact.” Harper & Row Publishers, Inc.

  v. Nation Enters., 471 U.S. 539, 560 (1985). However, “the court may resolve issues


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  of fair use at the summary judgment stage where there are no genuine issues of

  material fact as to such issues.” Bill Graham Archives v. Dorling Kindersley Ltd.,

  448 F.3d 605, 608 (2d Cir. 2006).

         “As with all affirmative defenses . . . the defendant bears the burden of proof”

  on demonstrating fair use. Monge v. Maya Mags., Inc., 688 F.3d 1164, 1170 (9th Cir.

  2012); see also Bell v. Eagle Mountain Saginaw Indep. Sch. Dist., 27 F.4th 313, 320

  (5th Cir. 2022) (“In the copyright realm, fair use is an affirmative defense . . . .”); cf.

  Campbell, 510 U.S. at 590 (“Since fair use is an affirmative defense, its proponent

  would have difficulty carrying the burden of demonstrating fair use without favorable

  evidence about relevant markets.”).

                                               B

         In assessing whether Defendants’ use of the Funeral Video is a fair use, each

  of the four statutory factors must be considered and the results weighed together. See

  Campbell, 510 U.S. at 578. In weighing the factors, none may “be treated in

  isolation, one from another.” Id.

         Beginning with the first factor, we determine that it strongly weighs in

  Plaintiffs’ favor in light of the Supreme Court’s recent guidance in Warhol. Turning

  to the second and third factors, we agree with the district court that both factors favor

  Defendants. As to the fourth factor, we conclude that Defendants did not carry their

  burden to produce evidence regarding the absence of a market impact. Because it is

  “impossible to deal with the fourth factor . . . [on] a silent record,” it is impossible

  for us to engage in the case-specific weighing of the four factors, which is the

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  hallmark of the fair use doctrine. Id. at 594. Accordingly, we reverse and remand for

  further proceedings consistent with this opinion.

                                                1

         The first factor concerns “the purpose and character of the use, including

  whether such use is of a commercial nature or is for nonprofit educational purposes.”

  17 U.S.C. § 107(1). A central, relevant inquiry is “whether and to what extent the

  new work is ‘transformative.’” Campbell, 510 U.S. at 579 (quoting Pierre N. Leval,

  Toward a Fair Use Standard, 103 HARV. L. REV. 1105, 1111 (1990)).

         In finding the first factor to weigh in Defendants’ favor, the district court

  stated that “the core of [the] inquiry is ‘whether the new work merely “supersede[s]

  the objects” of the original creation, or instead adds something new, with a further

  purpose or different character, altering the first with new expression, meaning, or

  message.’” Aplts.’ App., Vol. VIII, at 273 (second alteration in original) (quoting

  Campbell, 510 U.S. at 579). Operating under this standard, the district court found

  Defendants’ use to be transformative.

         Plaintiffs contend that the district court applied the incorrect standard when

  assessing the first factor. Specifically, Plaintiffs assert that the district court

  “misconstrued the meaning of ‘transformative’ in ruling that Defendants’ use was a

  transformative use.” Aplts.’ Opening Br. at 27. Stated otherwise, they argue that the

  district court “overlooked that ‘a mere difference in purpose is not quite the same

  thing as transformation.’” Id. at 28 (quoting De Fontbrune v. Wofsy, 39 F.4th 1214,

  1225 (9th Cir. 2022)). Accordingly, Plaintiffs claim that the first statutory factor

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  counsels in their favor because Defendants’ “streaming use is as commercial as it

  gets and is not transformative because the use makes no commentary upon the work

  itself.” Id. at 16. We agree with Plaintiffs.

                                               a

         The district court correctly noted that in Campbell the Supreme Court

  described a transformative use as one that “adds something new, with a further

  purpose or different character, altering the first [(i.e., the original)] with new

  expression, meaning, or message.” 510 U.S. at 579. However, in Warhol, the Court

  clarified that “Campbell cannot be read to mean that § 107(1) weighs in favor of any

  use that adds some new expression, meaning, or message.” 598 U.S. at 541. More

  specifically, in clarifying Campbell, the Warhol Court described it thusly:

                The use at issue in Campbell was 2 Live Crew’s copying of certain
                lyrics and musical elements from Roy Orbison’s song, “Oh, Pretty
                Woman,” to create a rap derivative titled “Pretty Woman.”
                Without a doubt, 2 Live Crew transformed Orbison’s song by
                adding new lyrics and musical elements, such that “Pretty Woman”
                had a new message and different aesthetic than “Oh, Pretty
                Woman.” Indeed, the whole genre of music changed from rock
                ballad to rap. That was not enough for the first factor to weigh in
                favor of fair use, however. The Court found it necessary to
                determine whether 2 Live Crew’s transformation of Orbison’s song
                rose to the level of parody, a distinct purpose of commenting on
                the original or criticizing it.

                Distinguishing between parody (which targets an author or work
                for humor or ridicule) and satire (which ridicules society but does
                not necessarily target an author or work), the Court further
                explained that “[p]arody needs to mimic an original to make its
                point, and so has some claim to use the creation of its victim’s (or
                collective victims’) imagination, whereas satire can stand on its
                own two feet and so requires justification for the very act of
                borrowing.”

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  Id. at 530 (alteration in original) (citation omitted) (quoting Campbell, 510 U.S. at

  580–81).

        This discussion of Campbell shows us that the Court did not deem a different

  genre of music and different lyrics to be enough to support a claim of transformative

  use. Instead, it was only when the Court found that 2 Live Crew’s work was a

  parody involving commentary on the original that the balance tilted in favor of fair

  use. As such, the Warhol Court crucially stated, “when ‘commentary has no critical

  bearing on the substance or style of the original composition, . . . the claim to

  fairness in borrowing from another’s work diminishes accordingly (if it does not

  vanish), and other factors, like the extent of its commerciality, loom larger.’” Id. at

  530–31 (omission in original) (emphasis added) (quoting Campbell, 510 U.S. at 580).

        With this clarification in mind, Defendants’ use of the Funeral Video is not

  transformative under the first fair use factor. Here, Defendants did not comment on

  or “target” Mr. Sepi’s work at all; instead, Defendants used the Funeral Video to

  comment on Joe Exotic. More specifically, Defendants used the Funeral Video to

  illustrate Mr. Exotic’s purported megalomania, even in the face of tragedy. By doing

  so, Defendants were providing a historical reference point in Mr. Exotic’s life and

  commenting on Mr. Exotic’s showmanship. However, Defendants’ use did not

  comment on Mr. Sepi’s video—i.e., its creative decisions or its intended meaning.3


        3
                In their Supplemental Brief, Defendants assert that their “use of the
  short Funeral Video clips targets both [Mr.] Exotic and the solemnity of the funeral
  as depicted in the Video.” Aplees.’ Suppl. Br. at 6. However, Defendants do not
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  In other words, the purported commentary did not “comment” on the original

  composition, but rather targeted a character in the composition. And Warhol has

  deemed such a use to not be sufficiently transformative. Indeed, in Warhol, Andy

  Warhol himself targeted a character—the artist, Prince—but the Court determined

  that his work was not sufficiently transformative in part because Mr. Warhol did not

  target the original work—viz., Lynn Goldsmith’s photograph of Prince.

        Accordingly, Netflix’s asserted commentary “is at Campbell’s lowest ebb.

  Because it ‘has no critical bearing on’ [Mr. Sepi’s video], the commentary’s ‘claim to

  fairness in borrowing from’ [his] work ‘diminishes accordingly (if it does not

  vanish).’ The commercial nature of the use, on the other hand, ‘loom[s] larger.’” Id.

  at 546–47 (third alteration in original) (footnotes omitted) (citation omitted) (quoting

  Campbell, 510 U.S. at 580).

                                             b

        “Like satire that does not target an original work, [Netflix’s] asserted

  commentary ‘can stand on its own two feet and so requires justification for the very

  act of borrowing.’” Id. (quoting Campbell, 510 U.S. at 581). Here, however,


  elaborate on how their use targets the Funeral Video—in particular, its “solemnity.”
  And we are unpersuaded that it does. Indeed, Warhol’s discussion of “targeting,”
  which is astutely explained through the example of the Campbell’s Soup Cans series,
  confirms our conclusion. The Court explained that the “Soup Cans series uses
  Campbell’s copyrighted work for an artistic commentary on consumerism, a purpose
  that is orthogonal to advertising soup.” Warhol, 598 U.S. at 539. As such, the Court
  stated that such a use “does not supersede the objects of the advertising logo.” Id.
  Here, however, Defendants’ use does not target the solemnity of the funeral to
  convey a broader social message (or any other message, beyond commenting on
  Mr. Exotic). As such, we find no merit in Defendants’ assertion.
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  Defendants do not appear to have a sufficiently compelling justification for their use.

  Defendants simply wished to use Mr. Sepi’s Funeral Video to convey a new meaning

  or message—viz., commenting on and criticizing Mr. Exotic. More specifically,

  Defendants used the Funeral Video, which Mr. Sepi created for the purpose of

  “remembrance,” Aplts.’ App., Vol. VII, at 151:21, for a different purpose—viz., to

  comment on Mr. Exotic’s purported megalomania. “But that does not suffice under

  the first factor. Nor does it distinguish [Defendants] from a long list of would-be fair

  users: a musician who finds it helpful to sample another artist’s song to make his

  own, a playwright who finds it helpful to adapt a novel, or a filmmaker who would

  prefer to create a sequel or spinoff, to name just a few.” Warhol, 598 U.S. at 547–48.

  Indeed, as discussed supra, the Warhol Court clarified that § 107(1) does not weigh

  in favor of a use simply because it adds some new expression, meaning, or message.

  Thus, under Warhol’s guidance, it is clear that Defendants’ use of the Funeral Video

  for a different purpose does not—standing alone—suffice to tilt the first factor in

  their favor.

         This conclusion is further bolstered by the commerciality of Netflix’s use.

  Warhol reiterated that the “undisputed commercial character of [a] use, though not

  dispositive, ‘tends to weigh against a finding of fair use.’” Id. at 537 (quoting

  Harper, 471 U.S. at 562). Here, it is undisputed that Defendants profited from their

  streaming of the Tiger King series. See Aplts.’ App., Vol. I, at 128, ¶ 17 (Second

  Am. Compl., filed Dec. 13, 2021) (“Netflix released the Tiger King documentary

  miniseries[,] and [it] was reportedly watched by over 34 million viewers in the U.S.

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  during the first 10 days.”). As such, it follows that Defendants profited from their

  commercial use of Mr. Sepi’s work in the Tiger King series—which was streamed to

  millions of paying subscribers of Netflix’s for-profit streaming service. See id.

  Furthermore, it is also undisputed that Defendants did not pay Mr. Sepi the

  customary licensing fee for using his video. Therefore, “[t]he commercial nature of

  [Defendants’] secondary use [also] weighs against a finding of fair use.” Fox News

  Network, LLC v. Tveyes, Inc., 883 F.3d 169, 178 (2d Cir. 2018).

        Taken together, then, the first statutory factor weighs in Plaintiffs’ favor.

                                             2

        The second fair use factor focuses on “the nature of the copyrighted work.” 17

  U.S.C. § 107(2). Specifically, the Supreme Court has recognized that “some works

  are closer to the core of intended copyright protection than others, with the

  consequence that fair use is more difficult to establish when the former works are

  copied.” Campbell, 510 U.S. at 586. The inquiry under the second factor generally

  focuses on two criteria. First, the law generally “recognizes a greater need to

  disseminate factual works than works of fiction or fantasy,” and hence it is more

  likely that the use of a factual or informational work will be fair use. Harper, 471

  U.S. at 563; see also Hustler Mag., Inc. v. Moral Majority Inc., 796 F.2d 1148, 1153–

  54 (9th Cir. 1986) (“The scope of fair use is greater when ‘informational’ as opposed

  to more ‘creative’ works are involved.” (quoting Marcus v. Rowley, 695 F.2d 1171,

  1176 (9th Cir. 1983))).



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         Second, whether a work has been published is also critical to its nature, as “the

  scope of fair use is narrower with respect to unpublished works.” Harper, 471 U.S.

  at 564. As such, “[w]hile even substantial quotations might qualify as fair use in a

  review of a published work or a news account of a speech that had been delivered to

  the public or disseminated to the press, the author’s right to control the first public

  appearance of his expression weighs against such use of the work before its release.”

  Id. (citation omitted).

                                              a

         Plaintiffs claim that the second statutory factor counsels in their favor.

  Specifically, Plaintiffs first argue that the district court “erroneously considered the

  Funeral [Video] a factual work because it captures images of reality, i.e., of a funeral

  that actually happened.” Aplts.’ Opening Br. at 35. Instead, Plaintiffs contend that

  the “depiction of real events via the camera doesn’t make a work factual.” Id. at 36.

  Plaintiffs assert that “[i]nsofar as Mr. Exotic is compelling creative content by an

  actor, [the video is] artistic and expressive—not factual.” Id. We are unpersuaded.

         A paradigmatic example of a creative work, the use of which will disfavor fair

  use under the second factor, is “[a] motion picture based on a fictional short story.”

  Stewart, 495 U.S. at 238. On the factual end of the spectrum, secondary use of a

  “bare factual compilation[]” favors fair use under the second factor. Campbell, 510

  U.S. at 586. However, “[e]ven within the field of fact works, there are gradations as

  to the relative proportion of fact and fancy. One may move from sparsely

  embellished maps and directories to elegantly written biography.” Harper, 471 U.S.

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  at 563 (quoting Robert A. Gorman, Fact or Fancy? The Implications for Copyright,

  29 J. COPYRIGHT SOC. 560, 563 (1982)).

         Additionally, “[w]hen determining the thickness of a [video’s] copyright, a

  court weighs the ‘range of creative choices available in selecting and arranging the

  [video’s] elements,’ examining aspects like ‘lighting, camera angle, depth of field,

  and selection of foreground and background elements.’” Brammer v. Violent Hues

  Prods., LLC, 922 F.3d 255, 266 (4th Cir. 2019) (quoting Rentmeester v. Nike Inc.,

  883 F.3d 1111, 1120–21 (9th Cir. 2018), overruled on other grounds by Skidmore v.

  Led Zeppelin, 952 F.3d 1051 (9th Cir. 2020) (en banc)). “The ultimate task is to

  separate the ‘facts or ideas set forth in a work,’ which are not protected, from the

  ‘author’s manner of expressing those facts and ideas,’ which is protected.” Id. at

  266–67 (quoting Authors Guild v. Google, Inc., 804 F.3d 202, 220 (2d Cir. 2015);

  Authors Guild, 804 F.3d at 220 (“[W]hile the copyright does not protect facts or ideas

  set forth in a work, it does protect that author’s manner of expressing those facts and

  ideas.”).

         Here, the Funeral Video is indisputably factual, containing only footage of

  actual events. See Aplts.’ App., Vol. I, at 166, ¶ 47. Put another way, nothing in the

  video could be categorized as a work of fiction. The fact that Joe Exotic attended

  and spoke at the funeral does not suddenly transform an otherwise factual depiction

  into a fictional work. Furthermore, Mr. Sepi’s creative vision or “manner of

  express[ion]” in the Funeral Video was extremely limited. Brammer, 922 F.3d at

  267. Mr. Sepi shot the video by placing a camera on a tripod and leaving it running.

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  See Aplts.’ App., Vol. I, at 166, ¶ 47. He did not edit the video, and his sole creative

  decision was where to place the camera. See id. Indeed, Plaintiffs do not even

  attempt to argue that Mr. Sepi exercised creative decision-making when filming this

  video. As such, the district court correctly concluded that the “video is more factual

  than creative.” Aplts.’ App., Vol. VIII, at 275. Accordingly, the second factor

  counsels in favor of fair use.

                                             b

        Next, Plaintiffs argue that the district court erred in holding that “the Funeral

  [Video] was ‘previously published’ because it was ‘livestreamed via YouTube and

  remained there afterwards.’” Aplts.’ Opening Br. at 32. Specifically, Plaintiffs

  contend that the Funeral Video “was not published in a copyright sense: ‘in this area

  of the law the word “publication” is a “legal word of art, denoting a process much

  more esoteric than is suggested by the lay definition of the term.”’” Id. (quoting Est.

  of Martin Luther King, Jr., Inc. v. CBS, Inc., 194 F.3d 1211, 1214 n.3 (11th Cir.

  1999)). Plaintiffs claim that “publication in the copyright sense could occur ‘only in

  two situations’ that indicated the owner’s desire to relinquish control over the work

  to the public.” Id. at 33 (quoting Est. of Martin Luther King, Jr., 194 F.3d at 1215).

  “The first situation was where the owner distributed ‘tangible copies of the work’ to

  the public.” Id. (quoting Est. of Martin Luther King, Jr., 194 F.3d at 1215). “The

  second situation was where the work was ‘exhibited or displayed in such a manner as

  to permit unrestricted copying by the general public.’” Id. (quoting Est. of Martin

  Luther King, Jr., 194 F.3d at 1215). As such, Plaintiffs assert that “[w]hile the

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  YouTube livestream and later posting were a persistent public performance,” it was

  by no means the distribution of a work to the public. Id. at 34. Plaintiffs’ argument

  is unavailing.

        17 U.S.C. § 101 provides the following definition of publication:

               “Publication” is the distribution of copies or phonorecords of a
               work to the public by sale or other transfer of ownership, or by
               rental, lease, or lending. The offering to distribute copies or
               phonorecords to a group of persons for purposes of further
               distribution, public performance, or public display, constitutes
               publication. A public performance or display of a work does not
               of itself constitute publication.

        Although the statutory definition does not clearly include YouTube videos,

  persuasive authority suggests that such videos would be “published” for the purposes

  of resolving a copyright dispute. See U.S. COPYRIGHT OFFICE, COPYRIGHT

  REGISTRATION OF WEBSITES AND WEBSITE CONTENT 4 (2021),

  https://www.copyright.gov/circs/circ66.pdf (“The key element of publication for an

  online work is that the copyright owner must authorize distribution. . . . A copyright

  owner must have expressly or implicitly authorized users to make retainable copies

  of a work by downloading, printing, or other means for the work to be considered

  published.”). More importantly, the Supreme Court has stated “[t]he right of first

  publication implicates a threshold decision by the author whether and in what form to

  release his work.” Harper, 471 U.S. at 553. As such, apparently underpinning the

  publication inquiry is a focus on “the author’s right to control the first public

  appearance of his expression.” Id. at 564.



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        At the outset, Mr. Sepi’s display of the Funeral Video appears to satisfy even

  the stringent interpretation of “publication” that he and Whyte Monkee Productions

  (i.e., Plaintiffs) posit.4 Mr. Sepi livestreamed the Funeral Video on YouTube as the

  funeral occurred, and then made the video publicly available on YouTube. See

  Aplts.’ App., Vol. I, at 166, ¶ 47. Thus, contrary to Plaintiffs’ assertion, this appears

  to be a situation where the work was “exhibited or displayed in such a manner as to

  permit unrestricted copying by the general public,” as members of the public could

  access and download the video at any time. Est. of Martin Luther King, Jr., 194 F.3d

  at 1215.

        Furthermore, Defendants’ use of the clip did not infringe on Mr. Sepi’s “right

  to control the first public appearance of his expression.” Harper, 471 U.S. at 564.

  Specifically, Mr. Sepi was able to exercise his right of first publication by choosing

  to livestream and post the video on YouTube for the public’s consumption. Only

  after Mr. Sepi exercised this right did Defendants use the video for their Tiger King

  series. As such, Plaintiffs cannot now contend that Defendants’ use of Mr. Sepi’s




        4
                 Even if the display did not satisfy such a stringent interpretation and we
  were to accept Plaintiffs’ argument that the Funeral Video was unpublished, “the fact
  that a work is unpublished [does] not itself bar a finding of fair use.” 17 U.S.C.
  § 107. In consideration of the other fair use factors, a court could find fair use. See
  id.; see also 4 Melville B. Nimmer & David Nimmer, NIMMER ON COPYRIGHT
  § 13F.06[B] (2023) (“[A]lthough a work’s unpublished status may still weigh against
  fair use, it must not count as dispositive.”).

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  clip impeded their right of first publication. Accordingly, the district court did not

  err in its analysis on the second factor.5

                                               3

         We next turn our attention to the third statutory factor. The third factor

  concerns the amount and substantiality of the material used and is reviewed “with

  reference to the copyrighted work, not the infringing work.” Bill Graham Archives,

  448 F.3d at 613; see 17 U.S.C. § 107(3) (noting that the third factor concerns “the

  amount and substantiality of the portion used in relation to the copyrighted work as a

  whole” (emphasis added)). This factor requires courts to consider not only “the

  quantity of the materials used,” but also “their quality and importance.” Campbell,

  510 U.S. at 587. So long as “the secondary user only copies as much as is necessary

  for his or her intended use, then this factor will not weigh against him or her.” Kelly

  v. Arriba Soft Corp., 336 F.3d 811, 820–21 (9th Cir. 2003); Brammer, 922 F.3d at

  267–68 (“The key question is ‘whether “no more was taken than necessary”’ to

  accomplish the secondary user’s purpose.” (quoting Authors Guild, Inc. v.

  HathiTrust, 755 F.3d 87, 98 (2d Cir. 2014))).



         5
                 Plaintiffs also argue that the district court “overlooked that the Funeral
  [Video] was deeply personal in nature.” Aplts.’ Opening Br. at 37. As such,
  Plaintiffs contend that “[w]hile not dispositive, the private nature of this work—
  footage of a funeral of a friend—weighs against a finding of fair use.” Id. However,
  Plaintiffs cite no authority demonstrating that such a consideration is relevant to the
  fair use analysis. Even if such a consideration were relevant, Mr. Sepi’s own conduct
  would belie the notion that the video was of a “private nature.” Id. Specifically,
  Mr. Sepi livestreamed and posted the video on YouTube for the public’s
  consumption. As such, this contention has no merit.
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         Plaintiffs argue that the district court erred in assessing this factor, as it “failed

  to appreciate that quantity is not dispositive” of the inquiry. Aplts.’ Opening Br. at

  38. Instead, Plaintiffs contend that a “proper analysis of this factor demands a

  qualitative analysis.” Id. Plaintiffs claim that “the qualitative value of the works

  copied in this case is quite high.” Id. at 40. Specifically, they assert that “the clip

  here was taken precisely because it was unusual—i.e., was notable, compelling,

  captivating footage.” Id. We are unconvinced.

         As a threshold matter, Defendants used a quantitatively insubstantial amount

  of the Funeral Video—a total of approximately sixty-six seconds out of a video

  lasting nearly twenty-four minutes. Thus, only about five percent of the Funeral

  Video appears in the Tiger King series. See Maxtone-Graham v. Burtchaell, 803

  F.2d 1253, 1263 (2d Cir. 1986) (“We agree with the district court that [defendant’s]

  inclusion of 4.3 percent of the words in [the copyrighted work] in his own book is not

  incompatible with a finding of fair use.”); New Era Publ’ns Int’l, ApS v. Carol

  Publ’g Grp., 904 F.2d 152, 158 (2d Cir. 1990) (“Here, the book uses overall a small

  percentage of [appellee’s] works. Appellant calculates that the book quotes only a

  minuscule amount of 25 of the 48 works that appellee claimed were infringed, 5–6%

  of 12 other works and 8% or more of 11 works . . . . In the context of quotation from

  published works, where a greater amount of copying is allowed, this is not so much

  as to be unfair.” (citation omitted)). Although not dispositive, Defendants’ use of

  such an insubstantial amount of the Funeral Video counsels in favor of a finding of

  fair use.

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        Furthermore, contrary to Plaintiffs’ assertion, the district court did assess the

  qualitative value of the clips used from the Funeral Video. Specifically, the district

  court noted:

                 The portions of the video used by Defendants show [Mr.] Exotic
                 speaking at the funeral. Qualitatively, these clips are some of the
                 more unusual portions of the video, although they are not
                 necessarily the most important.             The comments by
                 Mr. Maldonado’s mother, for example, may be just as significant
                 as the comments by [Mr.] Exotic to a person wanting to view the
                 funeral.

  Aplts.’ App., Vol. VIII, at 276. In both their Opening and Reply briefs, Plaintiffs fail

  to meaningfully engage with the district court’s analysis and demonstrate why it is

  incorrect. In itself, that is a fundamental problem for them. See Nixon v. City &

  Cnty. of Denver, 784 F.3d 1364, 1366 (10th Cir. 2015) (“The first task of an

  appellant is to explain to us why the district court’s decision was wrong.”); accord

  GeoMetWatch Corp. v. Behunin, 38 F.4th 1183, 1213 (10th Cir. 2022).

        However, even if we were to assume that Defendants used the most

  qualitatively important scenes from the Funeral Video, Plaintiffs’ claim would still

  lack merit. 6 Specifically, Defendants used no more of the Funeral Video than


        6
                Plaintiffs separately contend that the district court erred by not
  “consider[ing] the possibility that Defendants could have created their own film of
  the funeral, instead of stealing Mr. Sepi’s Funeral Film.” Aplts.’ Opening Br. at 41.
  According to Plaintiffs, this possibility of independent acquisition of the same scene
  is important to the “core” inquiry of the third factor, which “asks whether the
  Defendant ‘only copies as much as is necessary for his or her intended use.’” Id.
  (quoting Kelly, 336 F.3d at 821). The only authority that Plaintiffs cite in support of
  this proposition, however, is Brammer v. Violent Hues Productions, LLC, 922 F.3d
  255 (4th Cir. 2019). And at least without more, we are not persuaded. In particular,
  we read the language in Brammer that Plaintiffs rely on—in which the Fourth Circuit
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  necessary, and what they did use was reasonable in light of providing historical

  reference points of Mr. Exotic’s life, commenting on Mr. Exotic’s showmanship, and

  creating a captivating viewing experience that would bring his story to life. Cf. Bill

  Graham Archives, 448 F.3d at 613 (“[E]ven though the copyrighted images are

  copied in their entirety, the visual impact of their artistic expression is significantly

  limited because of their reduced size. We conclude that such use by [defendant] is

  tailored to further its transformative purpose . . . . Accordingly, the third fair use

  factor does not weigh against fair use.” (citation omitted)); Threshold Media Corp. v.

  Relativity Media, LLC, No. CV 10-09318, 2013 WL 12331550, at *12 (C.D. Cal.

  Mar. 19, 2013) (unpublished) (“Although one might quibble whether the filmmakers

  could have cut a second or two from their uses of [plaintiff’s] song in order to further

  reduce its overall exposure, the overall amount used was reasonable in light of their

  purpose.”). Stated another way, for Defendants to make their point about Mr. Exotic,

  they reasonably used clips in which he focused on himself during Travis

  Maldonado’s funeral. As such, Defendants copied only as much as was necessary for

  their intended use; thus, the third statutory factor also weighs in their favor.




  hypothesizes that the defendant could have independently secured a depiction of the
  same scene, id. at 268—as tangential to the court’s holding. That is, Brammer’s
  holding did not turn on whether the defendant could have independently acquired a
  depiction of the same scene that the plaintiff captured in the original work. See id. at
  267–68. Rather, Brammer turned on the amount and substantiality of the defendant’s
  use of the original, which the court determined under the circumstances was “not
  justified.” Id. at 268.
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                                                 4

        In finding the fourth factor to weigh in Defendants’ favor, the district court

  concluded that “Tiger King is not a substitute for the . . . Funeral Ceremony video.”

  Aplts.’ App., Vol. VIII, at 277. Specifically, the district court reasoned that it was

  “not likely that a person interested in viewing the funeral would consider viewing

  Tiger King as a replacement.” Id. However, Plaintiffs correctly note that, in

  reaching this conclusion, the district court did not cite to any evidence in the record

  demonstrating the absence of a market impact. See Aplts.’ Opening Br. at 43–44. As

  such, Plaintiffs claim that “any lack of evidence about market harms cuts against

  [Defendants’] fair use and means [Defendants,] as the movant on an affirmative

  defense[,] have failed to carry their burden on the fourth factor[].” Aplts.’ Reply Br.

  at 26. Indeed, Plaintiffs note that “the Supreme Court and other Circuits ‘have

  unequivocally placed the burden of proof on the proponent of the affirmative defense

  of fair use.’” Aplts.’ Opening Br. at 43 (quoting Dr. Seuss Enters., L.P. v. ComicMix

  LLC, 983 F.3d 443, 459 (9th Cir. 2020)).

        Defendants attempt to defend the district court’s decision, arguing that the

  “fourth factor weighs in the defendant’s favor when the plaintiff provides no

  evidence demonstrating a market impact.” Aplees.’ Resp. Br. at 43. As such,

  Defendants argue that “[i]n attacking the district court’s order, Plaintiffs merely

  assert—without a shred of evidence—that [Tiger King] is an unfair ‘derivative use’

  of Plaintiffs’ work.” Id. at 44 (quoting Aplts.’ Opening Br. at 43). We conclude that

  Plaintiffs have the better of this argument.

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         “The fourth fair use factor is ‘the effect of the use upon the potential market

  for or value of the copyrighted work.’” Campbell, 510 U.S. at 590 (quoting 17

  U.S.C. § 107(4)). “It requires courts to consider not only the extent of market harm

  caused by the particular actions of the alleged infringer, but also ‘whether

  unrestricted and widespread conduct of the sort engaged in by the defendant . . .

  would result in a substantially adverse impact on the potential market’ for the

  original.” Id. at 590 (omission in original) (quoting 3 Melville B. Nimmer & David

  Nimmer, NIMMER ON COPYRIGHT § 13.05[A][4] (1993)). Furthermore, “[t]he

  enquiry ‘must take account not only of harm to the original but also of harm to the

  market for derivative works.’” Id. (quoting Harper, 471 U.S. at 568).

        Critically, “‘[f]air use is an affirmative defense,’ thus requiring the defendant

  to ‘bring forward favorable evidence about relevant markets.’” ComicMix LLC, 983

  F.3d at 459 (quoting Dr. Seuss Enters., L.P. v. Penguin Books USA, Inc., 109 F.3d

  1394, 1403 (9th Cir. 1997)); accord Campbell, 510 U.S. at 590.

        The Supreme Court’s decision in Campbell is instructive. There, in addressing

  the fourth factor, the Court noted that “[s]ince fair use is an affirmative defense, its

  proponent would have difficulty carrying the burden of demonstrating fair use

  without favorable evidence about relevant markets.” Campbell, 510 U.S. at 590

  (footnote omitted). As such, the Supreme Court noted that in moving for summary

  judgment on the ground of fair use, petitioners “left themselves at just such a

  disadvantage when they failed to address the effect on the market for rap

  derivatives.” Id. Specifically, the Supreme Court stated:

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                Although [the petitioners] submitted uncontroverted affidavits on
                the question of market harm to the original, neither they, nor [the
                respondent], introduced evidence or affidavits addressing the
                likely effect of [the petitioners’] parodic rap song on the market
                for a nonparody, rap version of “Oh, Pretty Woman.” And while
                [the respondent] would have us find evidence of a rap market in
                the very facts that [the petitioners] recorded a rap parody of “Oh,
                Pretty Woman” and another rap group sought a license to record a
                rap derivative, there was no evidence that a potential rap market
                was harmed in any way by [the petitioners’] parody, rap version.

  Id. at 593.

         As such, the Supreme Court concluded that “it [wa]s impossible to deal with

  the fourth factor except by recognizing that a silent record on an important factor

  bearing on fair use disentitled the proponent of the defense, [the petitioners], to

  summary judgment. The evidentiary hole will doubtless be plugged on remand.” Id.

  at 594.

         Here, Defendants’ evidentiary showing is even more lacking than the

  petitioners’ showing in Campbell. Specifically, Defendants did not submit any

  affidavits or other evidence on the question of market harm to the original (i.e., the

  market for the Funeral Video itself) or to the market for derivative works (i.e., the

  market for other works, like Tiger King, which may incorporate portions of the

  original Funeral Video).7 Yet the Supreme Court highlighted the need for concrete

  evidence of market impact in Campbell. See 510 U.S. at 593–94.


         7
               At oral argument, Defendants suggested that Plaintiffs bore the initial
  burden of production to show the existence of a relevant market for Mr. Sepi’s video.
  However, Defendants have failed to offer any binding precedent to support such a
  position. Furthermore, even assuming arguendo that such a burden existed—a matter
  that we do not decide here—Plaintiffs have satisfied it in this case. Specifically,
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         There, petitioners only took a few verses and riffs from the original song. As

  such, like in this case, it was similarly unlikely “that a person interested in [listening

  to the original song] would consider [listening to the parody] as a replacement.”

  Aplts.’ App., Vol. VIII, at 277. However, the Supreme Court still concluded that the

  proponent of the affirmative defense was obliged in supporting its affirmative

  defense to submit affidavits or other evidence demonstrating the absence of a market

  effect on both the original and the derivative market. See 510 U.S. at 593–94; see

  also ComicMix LLC, 983 F.3d at 459–60 (“[T]he Supreme Court . . . ha[s]

  unequivocally placed the burden of proof on the proponent of the affirmative defense

  of fair use. . . . [The defendant,] as the proponent of the affirmative defense of fair

  use, ‘must bring forward favorable evidence about relevant markets.’ Because [the

  defendant’s] position is that it does not bear the burden of proof, it does not argue the

  adequacy of its scant evidence. . . . We conclude that [the defendant] did not meet its

  burden on the fourth factor.” (citation omitted) (quoting Penguin Books, 109 F.3d at

  1403)).


  there is record evidence that Defendants themselves paid others to license videos
  used in Tiger King; they just did not pay Mr. Sepi a license for use of his work. In
  fact, in this very appeal, Royal Goode licensed seven of the eight videos from Mr.
  Exotic and Mr. Lowe. This strongly suggests the existence of a relevant market for
  Mr. Sepi’s Funeral Video. In this regard, the circumstances here are akin to those in
  Warhol. There, the Court noted that there was “evidence ‘that photographers
  generally license others to create stylized derivatives of their work’ . . . . In fact,
  [Mr.] Warhol himself paid to license photographs for some of his artistic renditions.”
  598 U.S. at 535 (citations omitted) (quoting Andy Warhol Found. for Visual Arts, Inc.
  v. Goldsmith, 11 F.4th 26, 50 (2d Cir. 2021), aff’d, 598 U.S. 508). Accordingly, we
  conclude that, to the extent Plaintiffs bore an initial burden of production regarding
  the existence of a relevant market, they have met it.
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        To be sure, Defendants note that Mr. Sepi “admitted [to] having never

  licensed, sold, or otherwise commercially exploited any of his work (including the

  Videos).” Aplees.’ Resp. Br. at 43. As such, they claim that this is evidence that

  their “use of the Funeral Video did not harm any purported market for licensing the

  Videos.” Id. While not dispositive, we believe that Mr. Sepi’s failure to

  commercially exploit any of his work may indeed constitute evidence of market

  impact (or lack thereof) favorable to Defendants. See 4 Melville B. Nimmer & David

  Nimmer, NIMMER ON COPYRIGHT, § 13F.08[B] (2023) (“Some courts have held that

  factor four favored defendant when plaintiff had no history of entering the licensing

  market in question and no plans to do so.”); cf. ComicMix LLC, 983 F.3d at 460

  (noting, where the defendants published a Star Trek-themed book in the style of

  Dr. Seuss, that fourth factor weighed in favor of Dr. Seuss’s publisher in part, and

  “[c]rucially,” because the publisher often licensed its work for derivative uses). The

  district court’s analysis should have taken this evidence into account and evaluated

  its significance against the backdrop of Defendants’ ultimate burden to establish

  through concrete evidence their fair use defense.8


        8
               It should be noted that the district court also failed to consider
  “‘whether unrestricted and widespread conduct of the sort engaged in by the
  defendant[s] . . . would result in a substantially adverse impact on the potential
  market’ for the original.” Campbell, 510 U.S. at 590 (omission in original) (quoting
  3 NIMMER ON COPYRIGHT § 13.05[A][4] (1993)). Specifically, by reasoning that it
  was “not likely that a person interested in viewing the funeral would consider
  viewing Tiger King as a replacement,” Aplts.’ App., Vol. VIII, at 277, the district
  court improperly limited its analysis to the Defendants’ individual use rather than
  evaluating what unrestricted and widespread conduct of this sort would do to the
  market for the original Funeral Video.
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        In sum, we conclude that the district court’s analysis of the record does not

  support its conclusion that the fourth factor weighs in favor of Defendants.

                                              C

        Because the district court erroneously concluded—based on an inadequate

  factual record and without proper consideration of Defendants’ burden of proof—that

  the fourth factor weighed in Defendants’ favor, we cannot determine whether

  Defendants’ use of the Funeral Video was a fair use.9 We must reverse and remand

  with instructions to the district court to afford Defendants an opportunity to fill the

  evidentiary hole and to then reweigh the results of all four factors “together, in light

  of the purposes of copyright.” Campbell, 510 U.S. at 578.

        Ultimately, we rest our conclusion that remand is appropriate on the Supreme

  Court’s admonition that courts should explore each of the four factors and “weigh[]

  [the results] together, in light of the purposes of copyright.” Id. Here, the district



        9
                 The district court erred by rendering judgment on the fourth factor on an
  inadequate factual foundation, without considering whether there was evidence of
  derivative market impact and, if not, weighing the absence of such evidence on the
  resolution of the fourth factor. “Fair use is a mixed question of law and fact.”
  Harper, 471 U.S. at 560. The Supreme Court has said that “[w]here the district court
  has found facts sufficient to evaluate each of the statutory factors, an appellate court
  ‘need not remand for further factfinding . . . [but] may conclude as a matter of law
  that [the challenged use] do[es] not qualify as a fair use of the copyrighted work.’”
  Id. at 560 (alterations and omission in original); see, e.g., Bell, 27 F.4th at 325–26;
  ComicMix LLC, 983 F.3d at 461; Capitol Recs., LLC v. ReDigi Inc., 910 F.3d 649,
  663 (2d Cir. 2018). But “the corollary to this point is true as well—where there are
  material facts in dispute and those facts have not yet been resolved by the trier of
  fact, appellate courts may not make findings of fact in the first instance.” Oracle
  Am., Inc. v. Google Inc., 750 F.3d 1339, 1373 (Fed. Cir. 2014). The circumstances
  here are more akin to the latter situation.
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  court’s error as to the fourth factor prevents the weighing of all four factors. More

  specifically, we would need before us conclusive determinations on each of the

  factors—including the fourth—before we could weigh them in light of the aim of

  copyright, which is “to promote the progress of science and the arts, without

  diminishing the incentive to create.” Warhol, 598 U.S. at 531; see Am. Soc’y for

  Testing & Materials v. Public.Resource.Org, Inc., 896 F.3d 437, 448–49 (D.C. Cir.

  2018) (remanding on summary judgment “for the district court to further develop the

  factual record and weigh the factors as applied to [the defendant’s] use . . . in the first

  instance”); Ringgold v. Black Ent. Television, Inc., 126 F.3d 70, 81 (2d Cir. 1997)

  (remanding on summary judgment “to afford an opportunity for further development

  of the record and a sensitive aggregate assessment by the fact-finder of the fair use

  factors in light of the applicable legal principles”). However, we lack a

  comprehensive set of such conclusive determinations here because the district court

  ruled on the fourth factor without an adequate factual foundation.

         We decline on appeal to engage in a partial weighing of the factors.10 And,

  more specifically, we will not opine on what our conclusions herein—that the first


         10
               We note that the Supreme Court once characterized the fourth factor as
  “undoubtedly the single most important.” Harper, 471 U.S. at 566. But since then,
  the Supreme Court has repeatedly admonished “courts to avoid rigid application of
  the copyright statute.” Campbell, 510 U.S. at 577; see also Warhol, 598 U.S. at 527
  (“The fair use doctrine ‘permits courts to avoid rigid application of the copyright
  statute when, on occasion, it would stifle the very creativity which that law is
  designed to foster.’” (quoting Stewart, 495 U.S. at 236)); Google, 141 S. Ct. at 1197
  (“In a word, we have understood [§ 107] to set forth general principles, the
  application of which requires judicial balancing, depending upon relevant
  circumstances . . . .”); cf. 4 NIMMER ON COPYRIGHT, § 13F.09 (2023) (“In any event,
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  factor favors Plaintiffs and the second and third factors favor Defendants—may mean

  for the overall sufficiency of Defendants’ fair use defense. We leave it to the district

  court to apply the legal standards that we have charted out here on remand. See Bay

  v. Anadarko E&P Onshore LLC, 73 F.4th 1207, 1219 (10th Cir. 2023).

                                             VI

        For the foregoing reasons, we affirm in part and reverse in part the district

  court’s summary judgment order and remand the case for further proceedings,

  including but not limited to those discussed herein. More specifically, we affirm the



  all four of the statutory factors must be considered, notwithstanding the temptation to
  label some aspect of each as presumptively dispositive.”); William F. Patry, PATRY
  ON FAIR USE § 6:5 (2023) (“Assigning predetermined weights to individual factors is,
  moreover, inconsistent with Congress’s recognition that, in examining fair use
  claims, ‘the relative weight to be given [the statutory factors] will differ from case to
  case.’ Congress thus intended that courts should be free to weigh each factor as
  appropriate to the facts of a given case, not according to rigid, a priori rules.”
  (alteration in original) (footnote omitted) (quoting H.R. Rep. No. 1476, at 72 (1976);
  S. Rep. No. 473, at 65 (1975))).

          Our sister circuits are divided on whether to continue affording special weight
  to the fourth factor. Compare Infinity Broad. Corp. v. Kirkwood, 150 F.3d 104, 110
  (2d Cir. 1998) (affording the fourth factor no special weight), and Cambridge Univ.
  Press v. Patton, 769 F.3d 1232, 1275 n.31 (11th Cir. 2014) (same), with Bell v. Eagle
  Mountain Saginaw Indep. Sch. Dist., 27 F.4th 313, 320 (5th Cir. 2022) (treating the
  fourth factor as “the single most important”), and Soc’y of Holy Transfiguration
  Monastery, Inc. v. Gregory, 689 F.3d 29, 64 (1st Cir. 2012) (same), and Princeton
  Univ. Press v. Mich. Document Servs., Inc., 99 F.3d 1381, 1385 (6th Cir. 1996) (en
  banc) (noting that the fourth factor is “at least primus inter pares”). We need not,
  however, wade into this disagreement amongst our sister circuits and do not
  definitively opine on the matter. That is because we consider remand to be the
  appropriate course of action in any event under the unique circumstances of this
  case—most notably, the fact-based nature of the district court’s error on the fourth
  factor.

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  court’s order insofar as it granted summary judgment in Defendants’ favor

  concerning Plaintiffs’ copyright claims as to the first seven videos; we reverse the

  court’s order to the extent that it granted summary judgment in Defendants’ favor

  regarding Plaintiffs’ copyright claim concerning the eighth and final video at issue;

  and we remand the case for further proceedings consistent with this opinion.11




        11
                The parties “articulate a real and substantial interest that justifies
  depriving the public of access to the records that inform[ed] our decision-making
  process.” Eugene S. v. Horizon Blue Cross Blue Shield of N.J., 663 F.3d 1124, 1135–
  36 (10th Cir. 2011). Thus, the Joint Motion to Seal Limited Portions of Appellants’
  Appendix—which the Clerk of Court provisionally granted on September 29, 2022,
  subject to final determination by the merits-panel—is granted. Appellants’
  Appendix, Volume IX, shall remain sealed.
                                            42
